Case 9:18-cv-01161-GTS-TWD Document 58-1 Filed 12/09/19 Page 1 of 4

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

 

 

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RIGER MAYANDUENAS, f/k/a Mayan Duenas Riger
Plaintiff, PLAINTIFF’S MEMORANDUM
OF LAW IN SUPPORT OF MOTION
-against- TO RECONSIDER OR REARGUE
BIGELOW, Corr. Officer, f/k/a Officer Bigelow; 9:18-cv-1161
HARRIMAN, Nurse Admin; FULLER, C.O.; (GTS/TWD)

JASON BURDO, C.O., f/k/a Burgo; MAURER,
C.0.; and DIXON, Set.,

Defendants.

PRELIMINARY STATEMENT

Plaintiff submits this Memorandum of Law in support of his motion for an order
pursuant to Local Rule 7.1(g) granting plaintiff reconsideration or reargument of this Court’s
Decision and Order of November 25, 2019 which accepted and adopted in its entirety the
September 9, 2019 Report and Recommendation of the Hon. Therese Wiley Dancks and sua sponte
dismissed in its entirety plaintiff's amended complaint for failure to prosecute, together with such
other and further relief as is just, proper, and equitable.

STATEMENT OF FACTS

For a summary of facts relevant to this motion, plaintiff respectfully refers to the
December 9, 2019 Declaration of Edward Sivin, Esq. (hereinafter “Sivin Declaration”) and the
exhibits annexed thereto. Plaintiff also refers this Court to the history of this litigation, as
documented on PACER.

ARGUMENT
For the purpose of this motion, plaintiff respectfully refers to, and adopts herein, the

law as recited by this Court in its November 25, 2019 Decision and Order (Docket No. 55) and the
Case 9:18-cv-01161-GTS-TWD Document 58-1 Filed 12/09/19 Page 2 of 4

law as recited by Magistrate Judge Therese Wiley Dancks in the September 9, 2019 Report and
Recommendation (hereinafter “R&R”) (Docket No. 46). This Memorandum of Law therefore will
be limited to application of that law to the facts of this case.

Addressing the five factors considered in a Rule 41(b) dismissal in light of the facts
of this case, plaintiff's motion should be granted and plaintiff should be allowed to proceed with his
litigation.

As to the first factor, duration of failure to comply with court orders, while “the
plaintiffs failure to take action for four (4) months shall be presumptive evidence of lack of
prosecution,” N.D.N.Y. L.R. 41.2(a), here the presumption should be deemed rebutted by plaintiff's
submissions. Immediately prior to his release, plaintiff did make some attempt to maintain contact
with the Court; he sent two letters notifying the Court of his imminent release and of the fact that he
no longer would be at his Attica address. See Docket Nos. 34 and 38. Following his release from
prison, plaintiff took additional action, albeit someone uninformed, to continue his litigation.
Unable to continue the litigation pro se due to a confluence of personal issues, in June 2019 plaintiff
attempted to retain a lawyer to represent him. Thereafter, however, due to his precarious living
situation and very difficult post-release demands, he was unable to keep in contact with his
prospective lawyer.

As to the second factor, whether plaintiff was on notice that failure to comply would
result in dismissal, plaintiff initially did not even have a cell phone, much less a registered email
address on PACER. It was not until plaintiff returned to the law office of Sivin & Miller, LLP
(hereinafter “S&M”’) on September 24, 2019 that he learned of the R&R and this Court’s directive

set forth below:

08/22/2019 41 | DECISION AND ORDER that Magistrate Judge Dancks’ Report and |
| Recommendations (Dkt. No. 36 ) is ACCEPTED and ADOPTED in its |

2
Case 9:18-cv-01161-GTS-TWD Document 58-1 Filed 12/09/19 Page 3 of 4

entirety. Defendants' motion for summary judgment (Dkt. No. 14 ) is
DENIED. Plaintiff is reminded of his duty to keep the Court informed of his
‘current address, and warns him that his case will be dismissed for failure to
prosecute, should he fail to do so. Signed by Chief Judge Glenn T. Suddaby
‘on 8/22/2019. (Copy served upon plaintiff via regular mail). (sal ) (Entered:
08/22/2019)

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As to the third factor, whether defendants are likely to be prejudiced by any further
delay in these proceedings, it should be noted that defendants did not even respond to plaintiff's
objections to the R&R. Thus, while Magistrate Dancks was correct in opining in the R&R that
“flurther delay may well affect Defendants’ ability to locate witnesses....”, see R&R, at p. 6
(emphasis added), that defendants raised no such concern in response to plaintiffs objections
suggests that the delay in this case did not in fact affect defendants’ ability to locate witnesses and
did not otherwise prejudice defendants.

As to the fourth factor, while plaintiff recognizes the Court’s interest in managing its
docket, the delay in this case (which was filed in September 2018) has not been extreme. Moreover,
the risk of further undue delay has now been minimized by plaintiff's formal retention of counsel, as
indicated by the Notice of Appearance filed on December 6, 2019. See Docket No. 57. In his
Declaration in support of the instant motion, plaintiff’s counsel represents that “[g]iven the
opportunity, [he] intend[s] to adhere to all deadlines set by the Court and will make every effort to
litigate this lawsuit expeditiously.”

As to the final factor, whether less drastic sanctions would be appropriate, plaintiff
and his current counsel already are sufficiently chastened by the dismissal of plaintiffs lawsuit, as
evidenced by their efforts to have the suit reinstated. Substituting that initial rebuke, perhaps with a
conditional order of dismissal in the event of any future delay or noncompliance, would appear to be

an appropriate, less drastic sanction.
Case 9:18-cv-01161-GTS-TWD Document 58-1 Filed 12/09/19 Page 4 of 4

CONCLUSION
Based on the foregoing, it is respectfully requested that plaintiff's motion be
granted, and that an order be made and entered pursuant to Local Rule 7.1(g) granting plaintiff
reconsideration or reargument of this Court’s Decision and Order of November 25, 2019 which
accepted and adopted in its entirety the September 9, 2019 Report and Recommendation of the Hon.
Therese Wiley Dancks and sua sponte dismissed in its entirety plaintiff's amended complaint for
failure to prosecute, together with such other and further relief as is just, proper, and equitable.

Dated: New York, New York
December 9, 2019

Yours, etc.
SIVIN & MILLER, LLP

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